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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

  RowVaughn Wells, Individually and as Administratrix
  Ad Litem of the Estate of Tyre Deandre Nichols,
  deceased,

                                Plaintiff,

  v.                                                             Cause No.: 2:23-CV-02224

  The City of Memphis, a municipality; Chief Cerelyn
  Davis, in her official capacity; Emmitt Martin III, in his
  individual capacity; Demetrius Haley, in his individual
  capacity; Justin Smith, in his individual capacity;
  Desmond Mills, Jr., in his individual capacity; Tadarrius
  Bean, in his individual capacity; Preston Hemphill, in
  his individual capacity; Robert Long, in his individual
  capacity; JaMichael Sandridge, in his individual
  capacity; Michelle Whitaker, in her individual capacity;
  DeWayne Smith, in his individual capacity and as an
  agent of the City of Memphis.

                                Defendants.


                        STIPULATION OF MEDIATOR SELECTION

        Plaintiff RowVaughn Wells, Individually and as Administratix Ad Litem of the Estate of

 Tyre Deandre Nichols, hereby gives notice that Defendant City of Memphis, Defendant Preston

 Hemphill, Defendant DeWayne Smith, Defendant Robert Long, Defendant JaMichael Sandridge,

 Defendant Michele Whitaker, and the Plaintiff have agreed to use Judge Bernice Donald for the

 Court-required ADR in this case, which is currently set to take place on February 9, 2024.

        Defendant Emmitt Martin III, Defendant Demetrius Haley, Defendant Justin Smith,

 Defendant Desmond Mills, Jr., and Defendant Tadarrius Bean have not affirmed or denied their

 intent to participate in the ADR.
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                               Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I, Bryce Thomas Hensley, hereby certify that on December 22, 2023, I electronically filed

  the foregoing with the clerk of the court by using the CM/ECF system, and that upon filing, such

  system will serve a copy of the foregoing upon all counsel of record in this action.


                                                                       s/ Bryce T. Hensley
                                                                       Bryce T. Hensley
